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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION


 AKRUM WADLEY; JONATHAN                                     Case No. 4:20-cv-366
 PARKER; MARCEL JOLY; AARON
 MENDS; DARIAN COOPER; BRANDON
 SIMON; and JAVON FOY,

        Plaintiffs,

 vs.                                                     AGENDA FOR
                                                      STATUS CONFERENCE
 UNIVERSITY OF IOWA; BOARD OF
 REGENTS FOR THE STATE OF IOWA;
 BRIAN FERENTZ; and CHRISTOPHER
 DOYLE.

        Defendants.



       Pursuant to the Court’s May 26, 2021 Order [Doc. 40], Defendants set forth the

below agenda for the status conference set for June 15, 2022 at 10:30 a.m.

       1.     Bifurcating individual (section 1981) claims and Institutional (Title VI)

claims for purposes of motion(s) for summary judgment.

       2.     Plaintiff issuing subpoenas to employees of the University of Iowa (Kirk

Ferentz and Gary Barta) as “third party” subpoenas/discovery.

       3.     Receipt of medical waivers from Plaintiffs.




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                                    Respectfully submitted,

                                    THOMAS J. MILLER
                                    Attorney General of Iowa

                                    /s/ Jeffrey S. Thompson
                                    JEFFREY S. THOMPSON
                                    Solicitor General
                                    /s/ Jeffrey C. Peterzalek
                                    JEFFREY C. PETERZALEK
                                    /s/ Christopher J. Deist
                                    CHRISTOPHER J. DEIST
                                    Assistant Attorneys General
                                    Department of Justice-Special Litigation
                                    Hoover State Office Building
                                    Des Moines, Iowa 50319
                                    (515) 281-4419/4213
                                    jeffrey.thompson@ag.iowa.gov
                                    jeffrey.peterzalek@ag.iowa.gov
                                    christopher.deist@ag.iowa.gov
                                    ATTORNEYS FOR DEFENDANTS


                                                     PROOF OF SERVICE
                                  The undersigned certifies that the foregoing instrument was
                                served upon each of the persons identified as receiving a copy
                                by delivery in the following manner on June 13, 2022:

                                        U.S. Mail                     FAX
                                        Hand Delivery                 Overnight Courier
                                        Federal Express               Other
                                        CM/ECF

                                Signature: /s/ Audra Jobst




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